                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION

CHRISTIAN    AND    MISSIONARY
ALLIANCE FOUNDATION, INC.
dba Shell Point Retirement
Community, dba Chapel Pointe
at Carlisle, THE ALLIANCE
COMMUNITY    FOR    RETIREMENT
LIVING, INC. dba Shell Point
Retirement Community, dba
Chapel Pointe at Carlisle,
THE    ALLIANCE     HOME    OF
CARLISLE, PENNSYLVANIA dba
Shell     Point     Retirement
Community, dba Chapel Pointe
at    Carlisle,    TOWN    AND
COUNTRY     MANOR     OF   THE
CHRISTIAN    AND    MISSIONARY
ALLIANCE dba Shell Point
Retirement Community, dba
Chapel Pointe at Carlisle,
SIMPSON UNIVERSITY dba Shell
Point Retirement Community,
dba    Chapel     Pointe    at
Carlisle, and CROWN COLLEGE
dba Shell Point Retirement
Community, dba Chapel Pointe
at Carlisle,

          Plaintiffs,

v.                               Case No: 2:14-cv-580-FtM-29CM

SYLVIA MATHEWS BURWELL, in
her official capacity as
Secretary of the Department
of    Health     and    Human
Services,    UNITED    STATES
DEPARTMENT OF HEALTH AND
HUMAN SERVICES, THOMAS E.
PEREZ,   in    his   official
capacity as the Secretary of
the United States Department
of   Labor,   UNITED   STATES
DEPARTMENT OF LABOR, JACOB
J. LEW, in his official
capacity as Secretary of the
United States Department of
the Treasury, and THE UNITED
STATES DEPARTMENT OF THE
TREASURY,

              Defendants.


                              OPINION AND ORDER

        This matter comes before the Court on Plaintiffs' Motion for

Preliminary Injunction (Doc. #20) and Plaintiffs’ Request for Oral

Argument (Doc. #22), both filed on November 5, 2014.                     Defendants

filed an Opposition (Doc. #29) on November 19, 2014, to which

plaintiffs     filed    a   Reply    (Doc.     #35)    on     December   18,    2014.

Defendants filed a Surreply (Doc. #37) on January 9, 2015, and

plaintiffs filed a Notice of Supplemental Authority (Doc. #40) on

January 21, 2015.       The Court heard oral arguments on January 23,

2015.      For the reasons stated below, the motion is granted in part

and denied in part.

                                        I.

      On    October    3,   2014,    plaintiffs       Christian    and   Missionary

Alliance      Foundation,     Inc.    (doing       business      as   Shell    Point

Retirement Community)(Shell Point), The Alliance Community for

Retirement Living, Inc. (Alliance Community), The Alliance Home of

Carlisle,      Pennsylvania    (doing     business       as    Chapel    Pointe   at

Carlisle)(Chapel Pointe), Town and Country Manor of The Christian

and     Missionary     Alliance      (Town     &    Country      Manor),      Simpson



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University, and Crown College (collectively plaintiffs) filed a

Complaint and Request for Injunctive Relief (Doc. #1) challenging

certain   regulations   issued   under   the   Patient   Protection   and

Affordable Care Act (the Affordable Care Act, ACA, or PPACA) that

require them to directly or indirectly provide insurance coverage

to their employees which include abortifacient drugs, devices, or

services.   Plaintiffs are either religious nonprofit retirement

communities affiliated with The Christian and Missionary Alliance

religious denomination (CMA) or religious nonprofit colleges and

universities affiliated with CMA.        None of the plaintiffs are

exempt from the ACA or its regulations.            Defendants are the

Secretary of the United States Department of Health and Human

Services (HHS), the Secretary of the United States Department of

Labor (DOL), the Secretary of the United States Department of

Treasury (Treasury), and the Treasury (collectively defendants or

the United States).

     In their six-count Complaint, plaintiffs assert that forced

compliance with the regulations is a violation of the Religious

Freedom Restoration Act (RFRA), 42 U.S.C. § 2000bb-1 (Count One),

and a violation of their rights under both the First and/or Fifth

Amendments of the United States Constitution (Counts Two-Six).




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(Doc. #1.)     Plaintiffs’ request for a preliminary injunction is

premised only on the RFRA claim.         (Doc. #20, p. 27.)      1


                                      II.

     The Affordable Care Act was enacted on March 23, 2010, and

amended the Employee Retirement Income Security Act of 1974 (ERISA)

to establish new requirements for group health plans and insurers.

Among many other things, the Affordable Care Act requires employers

with 50 or more full-time employees to offer employee health-care

plans which provide certain additional minimum levels of coverage

to plan participants and beneficiaries.                 26 U.S.C. §§ 4980H(a)

&(c)(2), 5000A(f)(2).       All of the plaintiff entities satisfy the

minimum number of employees requirement.                (Doc. #21, p. 7 ¶ 15,

p. 13, ¶ 16, p. 18, ¶ 15, p. 23, ¶ 16, p. 29, ¶ 16, p. 35, ¶ 16.)

As relevant to this case, these minimum levels require providing

coverage for certain “preventive care” without cost to the insured.

“[W]ith     respect   to    women,”    this     includes     “such   additional

preventive    care    and   screenings      .   .   .   as   provided   for   in

comprehensive guidelines supported by the Health Resources and

Services Administration [HRSA]”.         42 U.S.C. § 300gg–13(a)(4).

     Congress did not itself specify what types of preventative

care must be covered, but authorized HRSA 2, a component of HHS, to



     1The page numbers refer to those created by CM/ECF at the
upper right hand corner of the filed document.
     2   Health Resources and Services Administration (HRSA).



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make that decision.           Burrell v. Hobby Lobby Stores, Inc., 134 S.

Ct.    2751,    2762    (2014).            In    due    course   HHS   published      final

regulations requiring that the “preventative care and services”

required by the ACA included “all [FDA] approved contraceptive

methods,       sterilization         procedures,         and   patient    education    and

counseling        for   all        women    with        reproductive     capacity”     (the

Contraception Mandate). 45 C.F.R. § 147.130(a)(1)(iv). 3 Many of

these FDA approved methods, procedures, and the education violate

plaintiffs’ sincerely held religious beliefs.

       Noncompliance with the Contraception Mandate is punished by

steep financial penalties and other civil remedies. For example,

an organization which fails to provide the mandated coverage risks

a tax penalty of $100 per day per employee.                      26 U.S.C. § 4980D(a),

(b)(1).    If     an    employer       discontinues         offering     a   health    plan

altogether, the penalty is $2,000 per year, per employee. 26 U.S.C.

§     4980H(a),     (c).      In     addition,          noncomplying     employers    face

potential enforcement actions by the Secretary of Labor and plan

participants and beneficiaries under ERISA. 29 U.S.C. §§ 1132,

1185d.

       Certain employers who would otherwise be subject to the

Contraception Mandate, however, are exempt from the Contraception


       3Similar
              requirements are imposed by the Department of Labor,
29 C.F.R. § 2590.715-2713(a(1)(ii), and the Department of
Treasury, 26 C.F.R. § 54.9815-2713(a)(1)(iv). For simplicity, the
Court refers only to the HHS regulations.



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Mandate.       Health plans in existence when the ACA was adopted are

“grandfathered”         and    do   not     need       to   comply   with     the    coverage

minimums—including            the   contraception           mandate—unless          the    plan

sponsor makes certain changes to the terms of the plan. 42 U.S.C.

§ 18011. Additionally, effective July 2013, “religious employers”

(i.e.,       formal     churches      and     religious         orders      organized        and

operating as nonprofit entities under the Internal Revenue Code)

are    exempt       from   the      Contraception           Mandate.        45      C.F.R.     §

147.131(a). 4        None of the plaintiff entities fall within either of

these categories.

       Also       effective    July    2013,       a    non-exempt     organization          may

obtain       an     “accommodation”          to        avoid    compliance          with     the

Contraception Mandate.                An accommodation is available to any

organization meeting the following criteria:                             (1) it opposes

providing coverage for some or all contraceptive services required

by the ACA on account of religious objections, (2) it is organized

and operated as a nonprofit entity, and (3) it holds itself out as

a     religious       organization.           45       C.F.R.    §   147.131(b)(1)-(3).

Further, to avail itself of this accommodation, the organization

must self-certify that it meets the three criteria. 45 C.F.R. §

147.131(b)(4).             The      Supreme       Court        has   stated      that      this



       4At
         oral argument, counsel for plaintiffs suggested for the
first time that labor unions were also exempted. No support for
this assertion has been provided.



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accommodation “effectively exempted” such organizations from the

contraceptive mandate.            Hobby Lobby, 134 S. Ct. at 2763.

       The      ACA    regulation            originally      required       that        self-

certification be “in a form and manner specified by the Secretary.”

45    C.F.R.     §    147.131(b)(4).           Self-certification         involved       the

employer filling out the “EBSA Form 700—Certification.”                          45 C.F.R.

§ 147.131(b)(4).         In this short form, the employer certifies that,

on    account    of    religious           objections,    the    organization      opposes

providing coverage for some or all of any contraceptive services

that would otherwise be required to be covered; the organization

is    organized       and   operates          as   a   nonprofit       entity;    and    the

organization holds itself out as a religious organization.                               Id.

See    also    EBSA    Form   700.           The   form   also    provided       that    “the

organization or its plan must provide a copy of this certification

to the plan's health insurance issuer (for insured health plans)

or a third party administrator (for self-insured health plans) in

order    for    the    plan      to    be    accommodated       with    respect    to    the

contraceptive coverage requirement.”                     EBSA Form 700.

       Where     there      is        an     accommodation,       the     ACA     requires

insurers/third party administrators to pay for the contraceptive

coverage for the organizations which are accommodated.                           45 C.F.R.

§§ 147.131(c)(2)(i)(B) & (ii); 29 C.F.R. § 2590.715–2713A(b)(3).

Form 700 thus alerts the insurers/third party administrators that

the employer is not going to pay, and therefore they will have to



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pay.    When an insurer receives notice that one of its clients has

invoked     an        accommodation,    the     issuer      must      then    exclude

contraceptive         coverage   from   the     employer's     plan    and    provide

separate payments for contraceptive services for plan participants

without imposing any cost-sharing requirements on the eligible

organization, its insurance plan, or its employee beneficiaries.

45     C.F.R.     §     147.131(c).       For     a   self-insured           religious

organizations choosing to invoke an accommodation, the third-party

administrator         of   the   organization     must      “provide    or    arrange

payments    for       contraceptive     services”     for    the    organization's

employees without imposing any cost-sharing requirements on the

eligible    organization,        its    insurance     plan,    or     its    employee

beneficiaries. 26 CFR § 54.9815–2713A(b)(2).

       Despite the regulation’s required use of a proscribed form,

the Supreme Court has dispensed with that requirement in connection

with the issuance of a preliminary injunction.                      On January 24,

2014, Little Sisters of the Poor Home For The Aged, Denver v. Colo

v. Sebelius, 134 S. Ct. 1022 (2014), stated:

            If   the   employer   applicants  inform   the
            Secretary of Health and Human Services in
            writing that they are non-profit organizations
            that hold themselves out as religious and have
            religious objections to providing coverage for
            contraceptive services, the respondents are
            enjoined from enforcing against the applicants
            the challenged provisions of the Patient
            Protection and Affordable Care Act and related
            regulations pending final disposition of the
            appeal by the United States Court of Appeals



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          for the Tenth Circuit. To meet the condition
          for injunction pending appeal, applicants need
          not use the form prescribed by the Government
          and need not send copies to third-party
          administrators.

Similarly, in Wheaton College v. Burwell, 134 S. Ct. 2806 (2014),

the Court stated:

          If the applicant informs the Secretary of
          Health and Human Services in writing that it
          is a non-profit organization that holds itself
          out as religious and has religious objections
          to   providing   coverage  for   contraceptive
          services, the respondents are enjoined from
          enforcing against the applicant the challenged
          provisions of the Patient Protection and
          Affordable Care Act and related regulations
          pending final disposition of appellate review.
          To meet the condition for injunction pending
          appeal, the applicant need not use the form
          prescribed by the Government, EBSA Form 700,
          and need not send copies to health insurance
          issuers or third-party administrators.

Id. at 2807.

     In light of Wheaton College, on August 27, 2014, HHS provided

an alternative notice mechanism to the EBSA Form 700 for invoking

the accommodation.    Coverage of Certain Preventative Services

Under the Affordable Care Act, 79 Fed. Reg. 51092-01 (Aug. 27,

2014).   This allows an entity seeking an accommodation to notify

only the HHS of its decision, not its insurer or administrator.

The organization is not required to use any particular form, but

the organization is required to set forth the basis for its

eligibility, the type of plan, and the contact information for the

insurer/administrator.   45 C.F.R. § 147.131(c)(1)(ii).    If the



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notice is sent only to the government agency, the government will

make necessary communications with the insurers/administrators to

arrange for the coverage required by the ACA.             Id.

                                    III.

       Plaintiffs assert that their sincerely held religious beliefs

preclude them from complying with the Contraception Mandate or

participating in the accommodation process.               Plaintiffs seek a

preliminary injunction to enjoin enforcement of the Contraception

Mandate and its regulations, including the accommodation process.

Plaintiffs also seek to enjoin the imposition of any fine, penalty,

or   tax   for   failing   to   provide   such    coverage    or   to    seek    an

accommodation.     As noted earlier, the basis for injunctive relief

is solely the RFRA.

       A federal court has inherent authority to issue an injunction

to remedy a violation of statutory or constitutional rights.                   Klay

v. United Healthgroup, Inc., 376 F.3d 1092, 1097 (11th Cir. 2004).

“The purpose of the preliminary injunction is to preserve the

positions of the parties as best we can until a trial on the merits

may be held.”      Bloedorn v. Grube, 631 F.3d 1218, 1229 (11th Cir.

2011)(citation     omitted).     However,       “injunctive     relief    is     an

extraordinary remedy that may only be awarded upon a clear showing

that the plaintiff is entitled to such relief.”               Winter v. NRDC,

Inc., 555 U.S. 7, 22 (2008)(citing Mazurek v. Armstrong, 520 U.S.

968,   972   (1997)(per    curiam)).       As    the   Eleventh    Circuit      has



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similarly stated, “a preliminary injunction is an extraordinary

and drastic remedy not to be granted unless the movant clearly

establishes ‘the burden of persuasion’ as to each of the four

prerequisites.”    Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir.

2000)(en banc) (quoting All Care Nursing Serv., Inc. v. Bethesda

Mem’l Hosp., Inc., 887 F.2d 1535, 1537 (11th Cir. 1989)).

      The four elements which must be established by the party

seeking an injunction have been phrased slightly differently.        The

Supreme Court has held that “[a] plaintiff seeking a preliminary

injunction must establish that he is likely to succeed on the

merits, that he is likely to suffer irreparable harm in the absence

of preliminary relief, that the balance of equities tips in his

favor, and that an injunction is in the public interest.”       Winter,

555   U.S.   at   20   (citations     omitted).   In   comparison,   the

traditional statement in the Eleventh Circuit is that in order to

obtain a preliminary injunction, the movant must demonstrate “(1)

a substantial likelihood of success on the merits of the underlying

case, (2) the movant will [likely] suffer irreparable harm in the

absence of an injunction, (3) the harm suffered by the movant in

the absence of an injunction would exceed the harm suffered by the

opposing party if the injunction is issued, and (4) an injunction

would not disserve the public interest.”          Odebrecht Constr. v.

Sec’y, Fla. DOT, 715 F.3d 1268, 1273-74 (11th Cir. 2013)(emphasis

added)(citations omitted).      At oral argument both sides agreed



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that there is not a material difference in the requirements,

despite the different verbiage.          The Court also agrees.

      A. Substantial Likelihood of Success on the Merits

      Plaintiffs assert that they are likely to succeed on the

merits because enforcement of the Contraception Mandate and the

accommodation process violates the RFRA.           (Doc. #20, pp. 28-34.)

The Court agrees in part.

      “Congress enacted RFRA . . . in order to provide very broad

protection for religious liberty.” Hobby Lobby Stores, Inc., 134

S. Ct. at 2760. The statute provides that the “Government shall

not substantially burden a person's exercise of religion even if

the burden results from a rule of general applicability.” 42 U.S.C.

§ 2000bb–1(a).      Plaintiffs bear the burden of showing that the

Government has substantially burdened their exercise of religion.

Davila v. Gladden, No. 13-10739,            F.3d      , 2015 WL 127364, at

*3   (11th   Cir.   Jan.   9,   2015).     If   plaintiffs   show   that   the

government’s action substantially burdens a person's exercise of

religion, the government must “demonstrate[ ] that application of

the burden to the person—(1) is in furtherance of a compelling

governmental interest; and (2) is the least restrictive means of

furthering that compelling governmental interest.” § 2000bb–1(b).

      (1)    Exercise of Religion

      To violate the RFRA, the government must impose a substantial

burden of the exercise of religion.         Gonzales v. O Centro Espirita



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Beneficente        Uniao    do   Vegetal,     546    U.S.    418,   428    (2006).

Plaintiffs assert that the exercise of religion in this case is

their      refusal     to     provide     insurance     coverage     for      those

contraceptives that may harm or kill a fertilized egg, or to

transfer authority to a third party to do the same.                   (Doc. #20,

p. 29.)      The Court agrees that plaintiffs have established that

this constitutes an exercise of religion.

      (2)    Sincerely Held Religious Beliefs

      The government does not dispute that the beliefs of all

plaintiffs about their exercise of religion are sincerely held.

The Court agrees.          It is not for the Court to say that plaintiffs’

religious beliefs are mistaken or insubstantial, but only “whether

the line drawn [between conduct that is and is not permitted under

one's religion] reflects an honest conviction.”                     Hobby Lobby

Stores, Inc., 134 S. Ct. at 2779.                The Court finds, for purposes

of   the    preliminary      injunction     only,   that    plaintiffs    honestly

believe     that     complying    with     the     Contraception    Mandate    and

participating in the accommodation process would violate their

religious beliefs and principles.

      (3)     Substantial Burden on Exercise of Religion

      The Court must determine whether plaintiffs’ exercise of

religion – i.e., refusing to provide the type of insurance coverage

at issue – was substantially burdened by the Contraception Mandate

and/or the accommodation process of the ACA.                Plaintiffs’ exercise



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of their religious beliefs is “substantially burdened” “if the

regulation requires participation in an activity prohibited by

religion.”    Midrash Sephardi, Inc. v. Town of Surfside, 366 F.3d

1214, 1227 (11th Cir. 2004).              This requires something more than

an incidental effect or inconvenience.                Davila, 2015 WL 127364,

at *4.   Rather, “the governmental action must significantly hamper

one's religious practice.” Smith v. Allen, 502 F.3d 1255, 1277

(11th Cir. 2007), abrogated on other grounds by Sossamon v. Texas,

131 S. Ct. 1651 (2011).         See also Adkins v. Kaspar, 393 F.3d 559,

570 (5th Cir. 2004) (“[A] government action or regulation creates

a   ‘substantial     burden’    on    a   religious    exercise     if   it   truly

pressures    the    adherent    to    significantly     modify     his   religious

behavior and significantly violates his religious beliefs.”).                   As

the Supreme Court stated, a court looks to “whether the HHS imposes

a substantial burden on the ability of the objecting parties to

conduct business in accordance with their religious beliefs.”

Hobby Lobby Stores, Inc., 134 S. Ct. at 2778.

      The   Court    finds     that   compliance      with   the   Contraception

Mandate does impose a substantial burden on plaintiffs’ religious

exercise.     The government, through the Contraception Mandate,

requires plaintiffs to provide a type of health care insurance

coverage to employees which their sincerely held religious beliefs

firmly prohibit.       Substantial penalties may be assessed by the

government for non-compliance.             As in Hobby Lobby Stores, Inc.,



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134 S. Ct. at 2775, the Court has little trouble in concluding

that the Contraception Mandate does impose a substantial burden on

plaintiffs’ exercise of religion.

         The government, however, provides what appears at first blush

to be a simple and expedient way for plaintiffs to opt-out of the

offending        obligations     imposed     by    the     Contraception        Mandate.

Plaintiffs       argue,      however,    that    the   accommodation      process       is

itself a substantial burden on their exercise of religion.                            This

is   a    separate     and    distinct    question       from    the   impact    of   the

Contraception Mandate, and the answer is not as simple.

         The Court finds that the portion of the accommodation process

which requires plaintiffs to self-certify their eligibility for

the accommodation and provide that written self-certification to

the HHS does not substantially burden plaintiffs’ exercise of

religion.        This notice requirement is short, simple, and merely

obligates the organization to certify that it meets the eligibility

requirements for the accommodation.                    None of the elements for

eligibility        for     the   accommodation         invade     privacy;       indeed,

plaintiffs proudly tell the world of their religious beliefs, but

decline to agree to tell the HHS that they satisfy the three basic

eligibility requirements.                This notification need not be on a

government-issued form.

         While   the     Court   finds    that    notice    to   the   HHS   does     not

substantially burden plaintiffs’ exercise of religion, the Court



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reaches the opposite conclusion as to the portion of the government

form which requires identification of and the contact information

for    plaintiffs’        insurance        carrier       and/or     third     party

administrator.      As discussed earlier, when plaintiffs invoke the

accommodation, their female employees will still be eligible for

the contraceptive coverage, but coverage will not be paid for by

plaintiffs.     Compelling plaintiffs to identify their providers or

administrators to the HHS clearly facilitates the government’s

ability to implement contraceptive coverage for plaintiffs’ female

employees.      While plaintiffs cannot preclude the government from

such   implementation,       the        identification     requirement      compels

plaintiffs to become excessively entangled in the process of

providing      coverage   for   services         which   their    sincerely   held

religious beliefs prohibit.         This is not to say that the government

cannot take any legitimate steps to determine the identity of the

insurers and administrators, or that the non-party insurers and

administrators cannot take any steps they feel are required.

After all, plaintiffs have no ability to compel the government or

their insurers/administrators to follow their religious beliefs.

But for the purpose of determining whether a requirement imposes

a substantial burden on religious exercise, the Court draws the

line   after    notification       of    eligibility     but     before   compelled

identification of an insurer/administrator.




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     The Court need not get drawn into the “trigger” argument

discussed in some cases.             Several courts have found that the

submission    of    the   self-certification      form    does    not     “trigger”

contraceptive coverage, but rather it is federal law that requires

the coverage and triggered the obligation.                Univ. of Notre Dame

v. Sebelius, 743 F.3d 547, 553-557 (7th Cir. 2014), petition for

cert.     filed,    No.   14-392   (Oct.   3,    2014);    Michigan        Catholic

Conference & Catholic Family Servs. v. Burwell, 755 F.3d 372, 387

(6th Cir. 2014), petition for cert. filed, No. 14-701 (Dec. 12,

2014); Priests For Life v. United States HHS, 772 F.3d 229, 252

(D.C. Cir. 2014).         A concurring Eleventh Circuit opinion, which

pre-dated the final rule allowing an alternative form of notice,

found this position to be “Rubbish.”                  Eternal Word Television

Network, Inc. v. Sec’y, United States HHS, 756 F.3d 1339, 1347

(11th Cir. 2014) (“Even if the form alone does not “trigger”

coverage —whatever that means—it is undeniable that the United

States has compelled the Network to participate in the mandate

scheme by requiring the Network not only to sign but also to

deliver the form to its third-party administrator of its health

insurance plan.”)         Whatever the trigger for coverage, plaintiffs

must provide notice of eligibility to the HHS but need not provide

identifying information as to the insurers/administrators.

     As     other    courts   have    done,     the    Court     will     therefore

precondition        the    preliminary     injunction      upon         plaintiffs’



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notification to the HHS of their eligibility for the accommodation.

Nothing precludes the government from using that information, and

any other information it may legitimately obtain, to enforce

compliance with the law.      Notice need not be on a government form

and a copy need not be provided to the insurer/administrator.

     (4)     Compelling Governmental Interest

     Once a plaintiffs show that their exercise of religion is

substantially burdened, the Government must demonstrate that its

challenged actions are in furtherance of a compelling governmental

interest.     Davila, 2015 WL 127364, at *4.        In evaluating whether

particular     policies     are   in    furtherance       of    a   compelling

governmental    interest,    courts    should   “look[    ]    beyond   broadly

formulated    interests   justifying     the    general    applicability    of

government mandates and scrutinize[ ] the asserted harm of granting

specific exemptions to particular religious claimants.” Gonzales

v. O Centro Espirita Beneficiente Uniao do Vegetal, 546 U.S. 418,

431 (2006).

     The United States argues that it has a compelling government

interest “in safeguarding public health and ensuring that women

have equal access to health care.”        Coverage of Certain Preventive

Services Under the Affordable Care Act, 78 Fed. Reg. 39870-01,

39872 (July 2, 2013).         The Court finds this is a compelling

governmental interest under the facts and circumstances of this

particular case.    See, e.g., Hobby Lobby Stores, Inc., 134 S. Ct.



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at    2780.        The   Court     rejects      plaintiffs’       argument    that     the

existence of multiple exemptions demonstrates that the government

interest is not compelling.                The government need not remedy a

problem      in    one   fell     swoop   in    order     for   its    interest   to    be

compelling.

       (5)        Least Restrictive Means

       Even if the government has shown a compelling governmental

interest justifying the burden on plaintiffs’ religious exercise,

it must show that the regulations are the least restrictive means

for    furthering         that     interest.       “The     least-restrictive-means

standard is exceptionally demanding.”                     Hobby Lobby Stores, Inc.,

134 S. Ct. at 2780.           Although “cost may be an important factor in

the least-restrictive-means analysis, but [ ] RFRA [ ] may in some

circumstances require the Government to expend additional funds to

accommodate citizens' religious beliefs.” Id. at 2781.

       The Court finds that for preliminary injunction purposes the

government has not established that the Contraceptive Mandate and

current      notice      requirements      are    the     least   restrictive        means

available to achieve its compelling interest.                     However, the Court

further finds that the self-certification notice requirement, as

limited       above,     is      the   least     restrictive       means     available.

Accordingly,         while      the    notice    requirement          is   proper,     the

identification of insurer/administrator requirement is not.




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       B. Irreparable Harm or Injury

       “A showing of irreparable injury is the sine qua non of

injunctive relief.”             Siegel, 234 F.3d at 1176 (citation omitted).

“[I]t    is      well    established       that   the   loss    of     First    Amendment

freedoms,        for    even     minimal    periods     of     time,       unquestionably

constitutes            irreparable       injury.”       KH      Outdoor,        LLC    v.

Trussville, 458          F.3d    1261,     1271–72   (11th     Cir.    2006)(quotation

marks and citation omitted).                The Court rejects the government’s

argument that plaintiffs have unduly delayed the filing of their

Complaint, which is indicative that they have and will not suffer

irreparable harm or injury.                The Court finds no undue delay, and

in any event, the delay in this case is simply not indicative of

a    lack   of    irreparable       harm    to    plaintiffs.          Plaintiffs     have

established the existence of an irreparable injury.

       C. Balancing Harms and Public Interest

       Plaintiffs must also establish that the threatened injury to

them outweighs the harm a preliminary injunction may cause to the

defendant and that an injunction would not harm or do a disservice

to    the     public     interest.         Siegel, 234       F.3d     at    1176.     The

preliminary injunction the Court will issue will impose at least

inconvenience to the government in the bureaucratic implementation

of the ACA.        Determining the identity of the insurer/administrator

will undoubtedly be more difficult if plaintiffs are not compelled

to provide this information.               On the other hand, “even a temporary



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infringement of First Amendment rights constitutes a serious and

substantial injury,” and neither the government nor the public

have any legitimate interest in enforcing an unconstitutional

statute or regulation.   KH Outdoor, 458 F.3d at 1272.   The Court

finds that both factors favor issuance of a preliminary injunction.

     D. Bond

     Rule 65(c) of the Federal Rules of Civil Procedure provides

that a court “may issue a preliminary injunction . . . only if the

movant gives security in an amount that the court considers proper

to pay the costs and damages sustained by any party found to have

been wrongfully enjoined or restrained.”   Fed. R. Civ. P. 65(c).

“[B]efore a court may issue a preliminary injunction, a bond must

be posted, but it is well-established that “the amount of security

required by the rule is a matter within the discretion of the trial

court and the court may elect to require no security at all.”

BellSouth Telecomms., Inc. v. MCImetro Access Transmission Servs.,

LLC, 425 F.3d 964, 971 (11th Cir. 2005) (citations omitted).    The

Court directs that any plaintiff complying with the pre-condition

for this preliminary injunction post a $100 bond with the Clerk of

the Court.

     Accordingly, it is hereby

     ORDERED:

     1. Plaintiffs’ Request for Oral Argument (Doc. #22) is GRANTED

       and oral arguments were conducted on January 23, 2015.



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2. Plaintiffs' Motion for Preliminary Injunction (Doc. #20)

  is GRANTED IN PART AND DENIED IN PART as follows:

  (i)     If a plaintiff informs the Secretary of Health and

          Human   Services     in    writing     that   it    (1)   opposes

          providing coverage for some or all contraceptive

          services     required      by    the    ACA   on    account      of

          religious objections, (2) is organized and operated

          as a nonprofit entity, and (3) holds itself out as

          a religious organization, defendants are enjoined

          from enforcing against that plaintiff challenged

          provisions of the Patient Protection and Affordable

          Care Act and related regulations.                   To meet the

          condition     for    this       preliminary      injunction,     a

          plaintiff need not use the form prescribed by the

          Government and need not identify or send copies to

          its insurer/third-party administrator.

  (ii)    Bond of $100 must be posted with the Clerk of the

          Court   by   each    plaintiff      who   qualifies       for   the

          preliminary injunction.

  (iii)   Nothing in this Opinion and Order precludes the

          Government    or     its     agencies     from     relaying     any

          accommodation notice or taking other lawful steps

          to facilitate implementation of full contraceptive

          coverage under the ACA.



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        (iv)      Nothing in this Opinion and Order directs non-party

                  insurers/administrators to do or refrain from doing

                  anything.

     3. The parties shall comply with the deadlines set forth in

        the December 19, 2014 Order (Doc. #36) for responding to

        the Complaint and for the filing of a Case Management

        Report.

     DONE and ORDERED at Fort Myers, Florida, this      3rd   day of

February, 2015.




Copies:
Counsel of Record




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